Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 1 of 40




            Exhibit 7
     Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 2 of 40




Customer Relationship Marketing
    Revised SMS Guidelines April 2013




                                                                         CRICKET00819448
                        Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 3 of 40



We're Reducing the Number of SMS We're Sending
                               ---,....magrarawararawr




               tore Grand
                Opening




     Special
      Event




           •       Customer Feedback Via NPS Surveys Indicates We Are
                             Messaging Customers Too Often
                    •       To enhance CE, we are limiting the types of messages and
                                   streamlining copy across the organization
                                                                                            CRICKET00819449
                       Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 4 of 40



Changes to Field SMS Campaign Approvals Effective April 23

   •   Implementation of Templates
          Limit campaign types to relevant messages (2 per month)
        * Increase message consistency across the enterprise
        • Removal of high-risk campaigns (smartphone offers) & low-value offers (customer appreciation
          days)
          Templates will be reviewed quarterly to ensure copy is aligned with current strategy

   o Spanish Requirement
          All campaigns must be transcreated/translated into Spanish and deployed within 48 hours
        * Templates will be loaded into Campaign Manager for Spanish messaging (we will notify when
          ready)
          Working with MARCOM to finalize Spanish templates

   o Changes to Approval Window and Process
           Campaigns will now only be reviewed once weekly to minimize resources required to manage field
           requests
              ®   Templates should reduce the correspondence between the field and CRM due to typos
            Campaigns containing errors will be re-reviewed the following Tuesday
        * Introduction of "Denial" templates to help the field understand what corrections are needed
        Jr' Inclusion of Product and all relevant teams approving all related messaging for consistency



   o Addition of Self-Service
           Field employees will be trained on how to retrieve current status
           No longer a need to wait for CRM to respond to inquiries, improving CE
           Email correspondence to CRM will be answered within 2 business days

           New contacts: Craig Salveta & Jack Roldan (you must email both)
           DO NOT REPLY TO AUTO-GENERATED RESPONSES FROM CM


                                                                                                      CRICKET00819450
Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 5 of 40




S S Reference Guide
                  Updated: April 2013




                                                                    CRICKET00819451
               Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 6 of 40


SMS Reference Guide

•   4 Pillars- page 4
•   New SMS Guidelines- page 10
•   SMS Templates- page 14
•   Campaign Denials- page 20
•   Additional Communication Channels- page 24
•   Self-Service- page 25
•   Campaign Targeting & Lead Lists- page 26




                                                                                   CRICKET00819452
Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 7 of 40




                    4 Pillars




                                                                                 6


                                                                    CRICKET00819453
               Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 8 of 40


Brand


he Cricket Brand must be consistently emphasized at
ustomer interaction, deliverin• the truth of our promis

• Inclusive of language and look & feel of our communications
• Reference the Brand Guidelines and "What We Do Matters" book for details




 ith a clearly defined Brand, the customer will quick)
ecognize who is communicating with them which in turn \An
               willingness to take a


                                                                                   CRICKET00819454
                   Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 9 of 40


 Channel

We have multiple channels available to reach our subscriber base.
The CRM team is willing to work with you to identify the most
effective way of reaching your audience and goals

 • SMS, voice drops, email, direct mail , outbound
 • The channel(s) selected should be based on goals, budget and timing
 • All creative must be approved through the CRM team


a Ong ann egra a rear e Ong appreac gives us our ses c anc
or success by breaking through the cl u
us omer s communication re eren

 • There are advantages to each channel depending on the goal of your campaign, it's
   important we consider all the tools we have available to reach your target audience
 • Over reliance on any one channel can reduce a customer's willingness to engage
   with us




                                                                                       CRICKET00819455
                    Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 10 of 40


Frequency: SMS Situational Overview

Cricket currently texts our subscriber base 2X as often as our
category competition: Metro, Boost, T-mobile (0 2010 comScore, Inc.)

 ver communicating via SMS presents                            isk of losing one of our
      est marketing channe

 • Violates basic CRM principles; a bad customer experience
 • Limits campaign effectiveness and customer engagement
 • "Stop sending me texts" appeared for the first time on our customer satisfaction survey,
   unprompted




                                                                                                       1'




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                  Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 11 of 40



Test v. Control Design: Why It Matters


Testy. Control Design drives continual campaign
improvement and optimizes Marketing ROI
                                                        . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




 • Allows us to more accurately analyze metrics, relating only the contributing
   factor(s) to campaign performance
 • Provides visibility into what Targeting, Channel and Messaging works best
 • Ensures results are statistically significant




                                                                                                                                      CRICKET00819457
                    Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 12 of 40


Test v. Control Design: Measurement


 Two types of measurable test v. control campaigns:


  • Customer-specific: These are results that can be tied back to a specific
    account/M DN
  • General metrics: These are results that cannot be tied back to a specific
    account/MDN (ie. # door swings, # giveaways, # clicks, etc.)

We strongly advise the design of customer-specific campaigns;
to allow for improved learning at the account/MDN level

 All test and control campaign results help to inform and improve
!future marketing efforts




              Page 11

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Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 13 of 40




      ew S S                          uidelines




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        Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 14 of 40



Two and Two SMS



           Two Field
          Campaigns
          Per Sub, Per
            Month                              Exclusions:
                                                   o Store closings
                                                      o Legal and Service matters
                                                      o Billing reminders
      Two
   Corporate
  Campaigns
  Per Sub, Per
     Month




                                                                              CRICKET00819460
                     Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 15 of 40



Campaign Timing and Approvals

Campaigns Must Be Submitted by NOON Tuesdays
   o Set your campaign to deploy between 8am — 5pm Local Time
        .0- Monday—Saturday only
            No Holidays
            No Sundays


    o Campaigns Require 4 Department Approvals
        *° Legal
        *' Marketing (CRM, Product, Lifeline)
        )1; CARE
            Web


    o Campaigns That Do Not Meet Guidelines at Time of Review Will Not be Approved
              Use of templates will best ensure your campaign will be approved on time
         `)=- To ensure on-time deployment, please re-review your campaign for the 4 Pillars,
              grammatical errors and punctuation BEFORE submission


    o Campaigns that are Denied Must be Changed & Submitted to The CRM Team via
      email For Final Approval notifying us of your changes or corrections.
           CRM will respond within 2 business days.



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Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 16 of 40




                 Templates




                                                                                 15


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                          Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 17 of 40



Loading Campaigns is Now Easier & Consistent

•   In Q4 2012, an SMS Taskforce was created to help simplify the SMS approval
    process.
     o   One AMM from each area


•   To help reduce the number of submission errors and to consistently use the
    same copy across both areas, Campaign Templates were drafted:
              Android Workshops                       = Meet & Greets
                                                                                                Templa e Link
              Store Closings                            Lifeline
           )% Store Relocations                         Sweepstakes
                                                                                                   Microsoft Excel
           p Grand Openings                             Handset Offer                                Worksheet


     o   Templates will be reviewed quarterly to align with business needs and ensure the field has relevant options
         available


•   Don't see the template you need? Work with your Marketing Director to create
    recommended copy who will then work with CRM to get your creative approved.
               We will only review custom copy if no existing template is similar to your campaign or available.

              Submissions need to be done a week in advance to allow the campaign to flow through the normal
              approval process once it is entered into Campaign Manager.




                                                                                                                     CRICKET00819463
Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 18 of 40




                     Denials




                                                                                 17


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                     Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 19 of 40



Campaign Denials

 • If your campaign is denied, you will receive the following message
   during denial:
     o "Your campaign has been denied due to 'X" reason. This campaign does not meet our
          Brand Pillar and will need to be revised. Please make the corrections/changes & change
          your deployment date/time and email your CRM contacts. This campaign will be re-reviewed
          for deployment during the following Tuesday approval period"

      o   We will note which of the 4 Pillars your campaign is not aligned with

      o Remember, your campaign will not be approved for the current week, you must
        change the date/time on your campaign to prevent a "notice" status




                   Please email both CRM contacts for inquiries & support

                                    Jack Roldan (720)283-4933
                                    Craig Salveta (303)224-3382
                         Failure to copy both CRM contacts may result in delays.

                                                                                          CRICKET00819465
                       Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 20 of 40


What to know before loading a campaign

Please use proper grammar and punctuation, start to finish.               "Get Ascend II. 4 only 29! See you
their!"
Must use "Cricket" at least once. "This weekend at Cricket Highlands Ranch. . ."
Double check product names for accuracy: Android, Muve Music, PAYGo, Smartphone, etc.
When space is available, please close with "Cricket. Your Call"
No abbreviations except for addresses. "St., Rd., Ct. Blvd. Ave., Pl., Hwy., Dr., Cir.,
You must list a physical address, shopping center references are OK with address.
Use a single space after punctuation. "See store for details. Cricket. Your Call"
Do not repeat promos already coming from POS, television, or radio.
FREE needs to be in all CAPS, every time.
"See store for details" needs to be included for offers and promos per Legal.

Double check the offer price point and location address are correct.
Only use the "marketing" short code (5555). Using the "legal & service" and "administration"
short codes can cause problems during the opt-out process.

                                                                                                '1°7: 21MEE27




                                                                                                   CRICKET00819466
                 Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 21 of 40



Additional Requirements

Changes to types of approved campaigns:

"Customer Appreciation Days" will no longer be supported as events offering
"food, fun & prizes" must have a strong offer with actual value added
statement.
All campaigns must have a call to action and a value added statement.

Messages targeting PAYGo subs MUST EXCLUDE Rad oShack subscribers

Any message in English should be translated into Spanish and delivered to
those subscribers within 48 hours of the English message

 Please email both CRM contacts for inquiries & support

                          Jack Roldan (720)283-4933
                          Craig Salveta (303)224-3382
                Failure to copy both CRM contacts may result in delays.

                                                                                      CRICKET00819467
      Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 22 of 40




Additional Communicat                                            channels




                                                                                       21


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               Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 23 of 40




Cricket has a number of additional resources that may be available to help
    promote your event, post your notice or announce the hottest local
                               promotion.




                                    Work with PR to get the
                                   word out about your event
                                   or special announcement!
                                   Contact Daniel Schaffer
Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 24 of 40




                p aces & Se                                 ervice




                                                                                 23


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                 Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 25 of 40



Using SMS Templates: 5 Simple Steps

    In Campaign Manager, click 'Create Campaign'.
    Under Campaign Type, select "Marketing".
    Under Apply Template, select the template that most closely fits your
    needs. See the attached document for a complete list.
    Fill in the rest of the details, including Requestor, Start Date, End Date,
    Start Time, End Time, and Estimated Count.
    Upload your lead list and hit Save!

                  Create Campaign



                                      Desuiption



                                    ConpaigraNK

                                        Requec-




                                                               tImazone detauif




                                                     nier,-.
                               Broadcast tatessage
                                                                                  9




                                                                                      CRICKET00819471
                Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 26 of 40



Self-Service: Checking the Status of Your Campaign

    Log into Campaign Manager and select 'View Campaign'.
    To find your campaigns, select your User Id in the Created By field under
    "{click to set filters}", then click "Filter". You can also enter your
    campaign ID to search.
     Under Status, you will find the state of your campaign. If this is
    "Notice", "Automatic Stop", "Group Load Error", "Group Load
    Interrupted" or "Never Started" your campaign requires action. See the
    table on the next slide for detailed steps.




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                                              marketing (55E 5) Hayley Schabefg E •
                         ; me      0310:00
                                                                                      o   .Dr


                                                                                                Status
                                                                                                    -   - :
                                                               Craig S3Ner::




                                                                                                                                               CRICKET00819472
    Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 27 of 40




Campaign Targeting                                         ead Lists




                                                                                     26


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Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 28 of 40
                  Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 29 of 40



SMS Targeting Guidelines

All Campaigns must remove the Standard Exclusions, including:
     o PAYGo
    o Broadband
    o Do Not Contact
    o Do Not SMS
    o Universal Control Group (currently in development)
Any Campaign promoting a device must exclude:
    o All subscribers with less than 8 months of tenure
    o All subscribers with an ESN change in the last 8 months
         ➢ CRM should be notified of any device promotion




                                                                                       CRICKET00819475
                 Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 30 of 40



New Process Makes Getting Leads Easy!

Data Management is our NEW Resource to Pull Leads
    o Service Now is now used to make requests
    o Requests for leads can be made at any time
        ➢ 24 hours a day, 7 days a week
    o Data is reliable and up to date
    o Data Management will exclude the Do Not Contact List(DNC)
    o Data Management (DIBO) has agreed to support all Field MDN requests in a timely
      fashion with a 72 hour turnaround


                                                                                  2 day lead time
                         Submit a Service
                                                       Communicate                mergency requests
                         Now Ticket and
                                                        pectations and             will be fulfilled
                          attach request
                                                       eadlines clear)           BASED ON VOLUME




                              MDN Requ
                                Form




                                                                                              CRICKET00819476
                             Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 31 of 40


MDN Request Form Snap Shot
                                       Target Customer                                    Included   Excluded
 Customer Type:
 2.   01 — Pay in Advance (Wireless & Broadband)
 3.   03 — Employee/Demo
 4.   21 — Bill in Advance / Pay in Arrears (Wireless & Broadband)
 5.   70 — PAYGo
 6.   73 - Broadband
 7.   80 — Hargray
 Rate Plan:                                                                                 n/a
 Handset:                                                                                   n/a
                                                                                            n/a
 Length of Service:                                                                         n/a
 Market Codes:                                                                              n/a
 Grey Market Codes:
 Zip Codes:                                                                                 n/a
 Account Balance:                                                                           n/a
 Account Status: Active/Hotline/All                                                         n/a
 Seed list: Any individual MDNs that need to be added                                       n/a
 Billing Language Preference:                                                               n/a
 Do Not Contact:                                                                                      Always
 Do Not SMS:                                                                                          Always
 Do Not Call:                                                                               n/a
 Control group of 1,000 required with all lead list 10,000 or more                          n/a
 MDN list organization/versioning requirements:
 • Text files only
 • No letters, symbols, or field headers
 • No more than 50K records per file

                                                                                                     CRICKET00819477
                                        Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 32 of 40


Enter Ticket in the ServiceNow Catalog
1.           ServiceNow Catalog
                                                                                        5. Provide the following details:
2.           Cricket Business Intelligence
                                                                                            Details of Request
3.           Request a CBI Reporting or Database Issue
                                                                                            Due Date
4.           Follow screen shot below
                                                                                            Make a note "Assign to DIBO"
CncKet i i Service Managem                                     nt Suite
a     Welcome Ashlee Andersen

                                    C        Kan -Report a C                ng ar ED
ERMA
                                                   The purpose of this item is to report an issue with an area within CBI reporting.
Facilities
                                 ***please use the attachment feature (paperclip icon - upper right-side) to provide any screenshots correlating to the
orro                                                                                   issue.***
self-service

   Homepage                      Select the environment
   About                         PROD       -
ligRequest Wizard
a  Create New Incident           Select the application:
I! Submit APP ticket              Glick it you don't know the application
r  My Incidents                  Data Feed or Data extracted from EDW -
El My Employee's INCE
r  My APP tickets               :issue related to:
E My Employee's APPs             EDW Data
in Problem tickets
                                iProvide a description of the issue you are reporting
Request Management
                                Details of request
U Service Catalog               Due date
En My Approvals                 Assign to 1,MQ
Co My Requests
Ln My Requested Items
   My Employee's Reg Items

Customer Support                 Select the severity level:
      Submit a Refund Request    4 - Low
      My Refund Requests        Submit
               rtt




                                                                                                                                           CRICKET00819478
                                                           Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 33 of 40


            MDN Request Example: Smartphone Upgrade
Target Customer

Customer Type:                                                                                       •    Standard Exclusions
2.       01 - Pay in Advance (Wireless &

3.
4.
         Broadband)
         03- Ernployeo/Derno
         21- Bill in Advance I Pay in Arrears
                                                                                                           o PAYGo
         (Wireless & Broadband)
5.
6.
7.
         70- PAYGo
         73- Broadband
         80 - Hammy
                                                                                                           o Broadband
                                                           $40 or more                                     o DNC
Handset:                                                        n/a

Features:                                                       n/a

Length of Service:                              3 months or more, no hotlines in the
                                                          past 4 months
                                                                                                          Smartphone Criteria
Market Codes:                                                   330
                                                                                                            $40+ account monthly
Grey Market Codes:                                              n/a
                                                                                                            revenue
Account Balance:
                                                                                                            No Hotlines in the past 4
Account Status: Active/Hotline/All

Seed list: Any individual MONs that need                                                                    months
to be added

Billing Language Preference:                                    n/a                                         3+ months tenure
Do Not Contact:                                                                        Always

Do Not SMS:                                                                            Always

Do Not Call:                                                    n/a

Control group of 1,000 required with all                        n/a
lead list 10,000 or more


MDN list organizationlversioning
requirements:
1.      Text files only
2.      No letters, symbols, or field
        headers
3.      No more than 50K records
        per file




                                                                                                                                CRICKET00819479
                                                       Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 34 of 40


         MDN Request Example: Grand Opening
Target Customer

Customer Type:                                                                                  *    Standard Exclusions
2.    01 - Pay in Advance (Wireless &

3.
         Broadband)
         03- Empl °yea/Demo
         21- Bill in Advance/ Pay in Arrears
                                                                                                      o PAYGo
         (YAMass & Broadband)
5.
e.
7.
         70 - PAYGo
         73- Broadband
         80 - Flargray
                                                                                                      o Broadband
                                                             n/a                                      • DNC
Handset:                                                     n/a

                                                             n/a

Length of Service:

Market Codes:
                                                             n/a

                                                             330
                                                                                                     Grand Opening Criteria
Grey Market Codes:                                           n/a                                        Zip code
Zip Codes:                                     Include zip codes surrounding the
                                                     actual Grand Opening


11111211111111111111
Account Status: Active/Hotline/Ail
                                                              n/a

                                                          Active Only

Seed list Any individual MDNs that need                       nia
to be added

Billing Language Preference:                                  n/a

Do Not Contact:                                                                    Always

Do Not SMS:                                                                        Always

Do Not Call:

Control group of 1,000 required with all                     n/a
lead list 10,000 or more

MDN list organization/versioning
requirements:
1.      Text files only
2.      No letters, symbols, or
        field headers
3.      No more than 50K records
        per file




                                                                                                                            CRICKET00819480
                                        Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 35 of 40


MDN Request Example: Lifeline
   Target Customer           Included

   Customer Type:
   2.        01 — Pay in
             Advance
                                                                                           Standard Exclusions
             (Wreless &

   3.
             Broadband)
             03 —
             Employee/De
                                                                                                 PAYGo
             mo
   4.        21 — Bill in
             Advance/
             Pay in
                                                                                                 Broadband
             Arrears
             (Wireless &
             Broadband)
                                                                                                 DNC
   5.        70— PAYGle
             73 -
             Broadband
   7.        80- Hugray

   Rate Plan:                                    n/a

                                                 n/a
                                                                                           Lifeline Criteria
   Features:                                     n/a
                                                                                                 Annual house hold
                                                 n/a

   Market Codes:               Must be a resident of these states - MO,
                                                                                                 income is less then
                                      MD, SC, IL, OR. CA. CO

   Grey Market Codes:                             /a
                                                                                                 $30K
                                                 n/a                                             Must be a resident of:
   Account Balance:                                a

   Account Status:                           Active Only
                                                                                                 MO, MD, SC, IL, CO,
   Active/Hotline/All

   Seed list: Any
                                                                                                 CA, OR
   individual MDNs that
   need to be added

   Billing Language                              n/a
   Preference:

                                            S3OK or less

   Do Not Contact:                                                        Always

   Do Not SMS:                                                            Alv,eys

   Do Not Call:                                  n/a

   Control group of
   1,000 required with
   alt lead list 10,000 or
   more


                                                                                                                 CRICKET00819481
                                                    Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 36 of 40


   Campaign Collection Page


                                                                                        .....,...     os.-eret.u.


                                                  ampa'a

Campaign Start Date: 3/10/2012               Lead List Volume: 85,000

Campaign End Date:      3/11/2012            Churn Reason Target: Other
Targeted Subscribers and Campaign Objective Description: Attempting to increase sales volume at a Premier dealer
                                                                                                                     FREE phone sale @ 1948
                                              Campaign EXECUTION                                                     West St. in Annapolis! Plus,
Channel:         ZSMS     ❑MMS           Direct Mail       Outbound        Email           ck here to enter text
                                                                                                                     Androids starting at $29.99
Offer Details:                                                                                                       with trade-in! All faceplates
FREE phone sale @ 1948 West St in Annapolis! Plus, Androids starting at $29.99 with trade-in! All Faceplates &

chargers for $4.99! 3/10-3/11/12 ONLY.
                                                                                                                     & chargers for $4.99! 3/10-
                                                                                                                     3/11/12 ONLY.
                                                Campaign RESULTS
Results Overview:

We targeted 85K subscribers in Baltimore for a free handset offer and Android phones at $29.99 to boost sales
volume at a Premier location.

Total activations during promo: 50
                                                                                                                     •   Date
Total activations for prior week's Saturday/Sunday: 35                                                               •   Number of subs
Door swings during promo: 183
                                                                                                                     •   Message
Door swings for prior week's Saturday/Sunday: 216

Additionally, we had double the accessory sales over the weekend prior and customers brought in several non-
                                                                                                                     •   Take rate
Cricket customers to switch carriers. We were also able to give everyone a referral program flyer and have already
seen several of these come back.                                                                                     •   Next steps

                  Microsoft Word                                 Template Link
                    Document



                                                                                                                                            CRICKET00819482
                Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 37 of 40


Example 1- 12K subs

•   On 3/3/12, visit the Cricket store located at 2022 W 63 Street to
    receive 40% off any Android phone with a new activation. See store
    for details!

•   Jcohn Jackson's team will be comparing this Saturday's gross adds to the
    previous Saturday.
•   Compare store traffic between both days
•   Provide any additional details and insight into how the promotion went
    overall
•   Once the results are complied, record into a Collection Page, send to CRM
    and file for future reference.




                                                                                     CRICKET00819483
                 Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 38 of 40


Example 2         102,000 subs

• Cricket Wireless is the official Monster Jam Pit Party sponsor! Visit
  any Cricket store to get your Pit Party pass. Valid 3/10. See store for
  details.

•   Kathleen Clausen held out a control group of 3000 subs that will not receive
    the message.
•   Track how many passes were handed out.
•   Compare store traffic between the promotion date and the weekday prior
•   Provide any additional details and insight into how the promotion went
    overall.
•   Once the results are complied, record into a Collection Page, send to CRM
    and file for future reference.




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                Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 39 of 40


Example 3        11,380 Subs

• Meet #84, Antonio Brown @ Cricket East Liberty, 5903 Penn Ave.,
  Thursday, 3/1, 6 -7pm. Plus! Get $25 off new phones with activation
  while you're there.

•   Grace Kane's team would measure the new activations on 3/1 compared to
    2/23 (Thursday compared against the prior Thursday)
•   Compare store traffic between the promotion date and the weekday prior
•   Provide any additional details and insight into how the promotion went
    overall.
•   Once the results are complied, record into a Collection Page, send to CRM
    and file for future reference.




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     Case 3:19-cv-07270-WHA Document 395-8 Filed 02/11/22 Page 40 of 40

                                      CRICKET00819448


                                              Metadata
Author              Kellie McFarland                               SEMANTIC
Begin Family        CRICKET00819446                                SEMANTIC
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